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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   WESTERN DIVISION


EDDIE H. MYLES,

                Plaintiff,

v.                                                     No. 15-cv-02855

                                                       Assigned to: Judge Philip G. Reinhard
NEDRA CHANDLER,
                                                       Referred to: Judge Iain D. Johnston
                Defendant,

and

INTERNAL AFFAIRS OFFICER
CHRISTOPHER THOMPSON,

                Defendant.


                              FIRST AMENDED COMPLAINT

         Plaintiff, Eddie H. Myles (“Plaintiff”), by and through his attorneys, for his First

Amended Complaint alleges as follows:

                                JURISDICTION AND VENUE

         1.     This action arises under and is brought pursuant to 42 U.S.C. § 1983 to remedy

the deprivation, under color of state law, of rights guaranteed by the Eighth Amendment to the

United States Constitution. This court has jurisdiction over this action pursuant to 28 U.S.C. §§

1331, 1343.

         2.     This cause of action arose at Dixon Correctional Center (“Dixon”), 2600 N.

Brinton Ave. Dixon, Illinois 61021 in Lee County. Accordingly, venue is appropriate in this

Court.




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                                                 PARTIES

        3.      Plaintiff’s name is Eddie H. Myles and his prisoner number is #A-71068. He is

over sixty (60) years old.

        4.      Plaintiff is a current prisoner at Pickneyville Correctional Center (“Pickneyville”)

in Pinkneyville, Illinois.

        5.      Plaintiff was previously a prisoner at Dixon from May 2011 until he was

transferred to Pickneyville in September 2014.

        6.      Defendant Nedra Chandler previously served as Warden of Dixon until

approximately October 2014. She is being sued in her individual capacity official capacity to the

extent the Plaintiff seeks declaratory relief.

        7.      Defendant Mr. Christopher Thompson was Head of Internal Affairs at Dixon in

2013 at the time of the incidents described below. He is being sued in his individual capacity

and his official capacity to the extent the Plaintiff seeks declaratory relief.

                                     LITIGATION HISTORY

        8.      Plaintiff has not brought no other lawsuit dealing with the same facts alleged in

this Amended Complaint in state or federal court.

        9.      Plaintiff has exhausted all administrative remedies and grievance proceedings to

the extent applicable.

                                   FACTUAL BACKGROUND

        10.     In early 2013, Plaintiff was assigned to a cell with Milton Shepard #K-52138,

another inmate who was substantially younger than Plaintiff.

        11.     At that time, Plaintiff had a bottom bunk permit and Shepard had to move to the

top bunk as a result.



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        12.     In 2012 and 2013, Plaintiff spoke with corrections officers and lieutenants about

Shepard’s aggressive statements to Plaintiff about having to move to the top bunk in the cell.

        13.     Shepard told Plaintiff let he was upset about having to move up top and give up

the bottom bunk and threatened Plaintiff repeatedly. Plaintiff informed the corrections officers

working in Unit 60 and was assured they would speak to them.

        14.     When Plaintiff was in his cell or the “Dayroom,” Shepard acted aggressive

towards Plaintiff and threatened him. Plaintiff did whatever he could trying to avoid a physical

altercation whenever he was confronted by Shepard.

        15.     On January 28, 2013, Shepard attempted to claim that Plaintiff did not have a top

bunk permit and told him to “move [his] ‘ol ass on up.”

        16.     Plaintiff told Shepard he would show him the permit and Shepard replied that he

would “fuck him up” for forcing him out of the bottom bunk.

        17.     Plaintiff and Shepard then spoke with several correctional officers on the unit and

they confirmed that Plaintiff had a permit. Nonetheless, Shepard continued to threaten Plaintiff,

which several other inmates witnessed.

        18.     In January 2013, Shepard attacked Plaintiff for the first time. Later, Plaintiff and

Shepard were taken to segregation and were charged with fighting.

        19.     On February 2 and 3, 2013, Internal Affairs Officers Thompson came to speak to

Plaintiff about his displeasure with Shepard being in the general population, and not being happy

with Plaintiff being in segregation.

        20.     While in segregation, Shepard continued to try and intimidate Plaintiff by yelling

aggressive and threatening statements to Plaintiff and stating he would cause Plaintiff severe

bodily harm.


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        21.     Other corrections officers heard Shepard’s threats and came to Plaintiff and told

him to “watch himself” because Shepard told other individuals that when he got out of

segregation he was going to “fuck [Plaintiff] up.”

        22.     Once released from segregation, Shepard saw Plaintiff from a distance and began

yelling threats to cause serious physical harm to Plaintiff in front of several corrections officers

and inmates.

        23.     As a result of Shepard’s continued threats to cause Plaintiff significant bodily

harm, Plaintiff wrote a letter to Internal Affairs Officer Thompson in mid-March 2013.

        24.     Plaintiff also wrote a similar letter to Warden Nedra Chandler in mid-March

2013.

        25.     In the letters to Thompson and Chandler, Plaintiff detailed the physical abuse and

threats from Shepard and stated that he feared for his safety. The letters also sought protection

from Shepard. Both Chandler and Thompson were aware of Shepard’s prior assault on Plaintiff

in January 2013.

        26.     No action was taken by Thompson, Chandler, or any of their staff to separate

Plaintiff from Shepard or to take any action to protect Plaintiff from Shepard.

        27.     On March 28, 2013, Unit #31 and Unit #58 were on the Dixon prison yard for

recreational reasons. Plaintiff was in Unit 58 and Shepard was in Unit 31 on that date.

        28.     Plaintiff was sitting on the yard bench talking with inmates when Shepard invited

Plaintiff to meet him over by the shack on the yard. Plaintiff attempted to ignore Shepard.

        29.     Shepard returned again to the bench where Plaintiff and the other inmate were

sitting and insisted that Plaintiff get up and meet him by the shack to fight.




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        30.     After Plaintiff ignored him, Shepard aggressively attacked Plaintiff and caused

him serious bodily injury. Shepard hit Plaintiff about 15 to 20 times in his head and face as

Plaintiff attempted to cover himself.

        31.     As Shepard was on top of Plaintiff beating him, the horn went off letting everyone

know that yard was over.

        32.     No officers or Dixon staff provided protection to Plaintiff.       The assault on

Plaintiff was witnessed by numerous other inmates.

        33.     Plaintiff was later taken to the hospital as a result of the serious bodily harm he

suffered and was given pain medication by the nurse.            Dixon staff then took pictures of

Plaintiff’s injuries.

        34.     Plaintiff and Shepard were later placed in segregation.

        35.     In late March 2013, Internal Affairs Officer Thompson came to Plaintiff’s cell

and acknowledged that he had received the letter from Plaintiff and apologized for not taking

action to prevent the assault by Shepard. Thompson also said that he discussed the assault with

Warden Chandler.

        36.     Shepard was later transferred in April 2013.

        37.     In September 2014, Plaintiff was transferred to Pickneyville where he currently

resides.

    COUNT I – 42. U.S.C. §1983 - FAILURE TO PROTECT AGAINST DEFENDANT
                                    THOMPSON

        38.     Plaintiff incorporates the allegations above here.

        39.     There was a substantial risk of serious bodily harm to Plaintiff as a result of the

threats and actions of Shepard.



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        40.     Defendant Thompson was aware of the risk of harm that Shepard presented to

Plaintiff.

        41.     Defendant Thompson was deliberately indifferent to that risk and took no actions

to separated Plaintiff from Shepard or otherwise to protect him from the imminent threat of

seriously bodily harm.

        42.     Plaintiff would not have suffered the assault by Shepard had Defendant

Thompson not shown deliberate indifference to the risk of harm to Plaintiff and taken the

reasonable measures to protect Plaintiff.

        43.     As a result of Defendant Thompson’s failure to protect Plaintiff, Plaintiff suffered

significant bodily harm and related emotional and mental damages.

    COUNT II – 42. U.S.C. §1983 - FAILURE TO PROTECT AGAINST DEFENDANT
                                     CHANDLER

        44.     Plaintiff incorporates the allegations above here.

        45.     There was a substantial risk of serious harm to Plaintiff as a result of the threats

and actions of Shepard.

        46.     Defendant Chandler was aware of the risk of harm that Shepard presented to

Plaintiff as a result of the letter she received from Plaintiff.

        47.     Defendant Chandler was deliberately indifferent to that risk.

        48.     Plaintiff would not have suffered the assault by Shepard had Defendant Warden

not shown deliberate indifference to the risk of harm to Plaintiff and taken the reasonable

measures to protect Plaintiff.

        49.     As a result of Defendant Chandler’s failure to protect Plaintiff, Plaintiff suffered

significant bodily harm and related emotional and mental damages.



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                                  DEMAND FOR JURY TRIAL

        50.     Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiff demands a trial by

jury.

                                     PRAYER FOR RELIEF

        WHEREFORE, Plaintiff respectfully requests the Court to: 1) enter judgment in its favor

on all counts; 2) award Plaintiff compensatory and punitive damages in an amount to be proved

at trial and Plaintiff’s attorney’s fees and costs; and 3) declare that Defendants’ actions were a

violation of the law and Plaintiff’s constitutional rights.


                                                       Respectfully submitted,

                                                       EDDIE H. MYLES


                                                       By:    s/ Patrick W. Spangler
                                                             One of His Attorneys

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Dated: August 28, 2015




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                               CERTIFICATE OF SERVICE

        I hereby certify that I served the foregoing FIRST AMENDED COMPLAINT to the

following attorneys of record on August 28, 2015 via:

                                    CM/ECF CASE FILING
                              Illinois Department of Corrections
                               100 West Randolph, Suite 4-200
                                    Chicago, Illinois 60601

                                          U.S. MAIL
                                       Becky Williams
                               Dixon Correction Center – 1, 3
                                 2600 North Brinton Avenue
                                   Dixon, Illinois 61021
                              becky.j.williams@doc.illinois.gov


                                                        s/ Patrick W. Spangler
                                                              One of His Attorneys




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